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9                            IN THE UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                           Case No.: 1:16-cr-00069-LJO
12
                                   Plaintiff,            STIPULATION AND PROTECTIVE ORDER
13
                                                         RE SUPERSEDING INFORMATION
14                          v.                           BETWEEN THE UNITED STATES AND
                                                         THE DEFENDANT
15   NASTHASA PARKS,
16                                 Defendant.
17

18          WHEREAS, the discovery in for the Superseding Information in this case is voluminous
19   and contains a large amount of personal information including but not limited to Social Security
20   numbers, dates of birth, driver’s license numbers, bank account numbers, telephone numbers, tax
21   returns, and residential addresses (“Protected Information”); and
22          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and
23   the unauthorized disclosure or dissemination of this information to anyone not a party to the
24   court proceedings in this matter;
25          WHEREAS, the parties agree that entry of a stipulated protective order is appropriate.
26          NOW, THEREFORE, defendant NASTHASA PARKS, by and through her counsel of
27   record (“Defense Counsel”), and plaintiff the United States of America, by and through its
28   counsel of record, hereby agree and stipulate as follows:


                                                     1
     PROTECTIVE ORDER
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1             1.    This Court may enter protective orders pursuant to Rule 16(d) of the Federal
2    Rules of Criminal Procedure, and its general supervisory authority.
3             2.    This Order pertains to all discovery provided to or made available to Defense
4    Counsel as part of discovery in this case relating to the Superseding Information that contains
5
     Protected Information (hereafter, collectively known as “the discovery”).
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              3.    By signing this Stipulation and Protective Order, Defense Counsel agrees not to
7
     share any documents that contain Protected Information with anyone other than Defense Counsel
8
     (which can include defense counsel not of record) and designated defense investigators and
9
     support staff. Defense Counsel may permit a defendant to view unredacted documents in the
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     presence of his attorney, defense investigators, and support staff. The parties agree that Defense
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     Counsel, legal counsel not of record, defense investigators, and support staff shall not allow
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     defendant to copy Protected Information contained in the discovery. The parties agree that
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     Defense Counsel, legal counsel not of record, defense investigators, and support staff may
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     provide the defendant with copies of documents from which Protected Information has been
15
     redacted.
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              4.    The discovery and information therein may be used only in connection with the
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     litigation of this case and for no other purpose. The discovery is now and will forever remain the

19   property of the United States Government. Defense Counsel will return the discovery to the

20   Government or certify that it has been shredded at the conclusion of the case. Defense Counsel

21   shall not be required to delete any discovery or information received that has been scanned and

22   saved in its document retention computer system.

23            5.    Defense Counsel will store the discovery in a secure place and will use reasonable
24   care to ensure that it is not disclosed to third persons in violation of this agreement.
25            6.    Defense Counsel shall be responsible for advising the defendant, employees, and
26   other members of the defense team, and defense witnesses of the contents of this Stipulation and
27   Order.
28   ///

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     PROTECTIVE ORDER
            Case 1:16-cr-00069-LJO-SKO Document 577 Filed 06/01/18 Page 3 of 3


1              7.      In the event that defendant substitutes counsel, undersigned Defense Counsel
2     agrees to withhold discovery from new counsel unless and until substituted counsel agrees also
3     to be bound by this Order.
4              IT IS SO STIPULATED.
5

6    Dated: June 1, 2018                            McGREGOR W. SCOTT
                                                    United States Attorney
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8
                                                    ____/s/_________________________________
9                                                   KIMBERLY A. SANCHEZ
                                                    Assistant United States Attorney
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11

12   Dated: June 1, 2018
                                                    _____/s/________________________________
13                                                  KEVIN LITTLE
                                                    Attorney for Defendant
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17
                                                    ORDER
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19
      IT IS SO ORDERED.
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21
      Dated:        June 1, 2018                                   /s/   Sheila K. Oberto             .
                                                           UNITED STATES MAGISTRATE JUDGE
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      PROTECTIVE ORDER
